441 F.2d 269
    UNITED STATES of America, Plaintiff-Appellee,v.John Clyde DOGGETT, Defendant-Appellant.
    No. 30872 Summary Calendar.*
    United States Court of Appeals, Fifth Circuit.
    April 21, 1971.
    
      Appeal from the United States District Court for the Southern District of Texas; Woodrow B. Seals, District Judge.
      Ronald W. Chapman (Ct.Apptd.), Chapman &amp; Carrithers, Houston, Tex., for appellant.
      Anthony J. P. Farris, U. S. Atty., Dewey F. Meadows, Malcolm R. Dimmitt, James R. Gough, Asst. U. S. Attys., Houston, Tex., for appellee.
      Before BELL, AINSWORTH and GODBOLD, Circuit Judges.
      PER CURIAM:
    
    Affirmed. See Local Rule 21.1
    
      
        Notes:
      
      
        *
         Rule 18, 5 Cir.; Isbell Enterprises, Inc. v. Citizens Casualty Company of New York et al., 5 Cir. 1970, 431 F.2d 409, Part I
      
      
        1
         See N.L.R.B. v. Amalgamated Clothing Workers of America, 5 Cir. 1970, 430 F.2d 966
      
    
    